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                                        IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF MAR YLAND

 KEYES LAW FIRM, LLC,                                             •
           Plaintiff,                                             •
 v,                                                               •       Civil No. RDB-17-2972

NAPOLI BERN RIPKA SHKOLNIK,                                       •
LLP, et at.
                                                                  •
           Defendants.
                                                                  •
•          •           •            •          •        •         •       •       •       •       •       •       •
                                  JUDGEMENT            A WARDING FEES AND EXPENSES

           This Court has considered the Fee Application of the Plaintiff Keys Law Firm, LLC

(ECF#I 92) and the documentation                     in support of that application, the opposition of the

Defendants (ECF#I97)                    and the Plaintiffs      Reply and Modification   of its application (ECF#198).

Having heard the arguments of counsel at the May 9, 2019 Show Cause Hearing, this Court has

previously ruled on the record that the specific Defendants                      identified herein did not comply with

this Court's Orders of February 28,2019                      (ECF#152) and April 18,2019 (ECF#186).

Accordingly,         for the reasons previously set forth on the record at the May 9,2019                 hearing, and

pursuant to Rule 37(b)(2)(C)                  the Plaintiffis    entitled to an award of attorneys'   fees and expenses

for the Defendants'              discovery violations.

          Therefore,         for good cause shown, IT IS HEREBY ORDERED                       AND ADJUDGED        this

_day       of September, 2019 as follows:

      (I) For the reasons stated in the Fee Application (ECF#l92) this Court finds that 10 of 12
          Johnson Fac/ors as noted in Barber v. Kimbrel/s, Inc. 577 F.2d 216, 226 n.28 (4th Cir.
           1978) and Johnson v. Geor!?ia Highway Express. Inc. 488 F.2d 7 I4 (5th Cir. 1974) are
          satisfied and weigh overwhelmingly in favor of the Plaintiff;




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     (2) The Attorneys Fees requested are consistent with the Lodestar Ranges set forth in
         Appendix B to this Court's Local Rules (December 2018).

     (3) The Court hereby awards $316,873.12 (representing fair and reasonable attorneys' fees of
         $185,792.25 and expenses of$131,080.87)    to PlaintifTand its counsel Kramon &
         Graham, P.A. and against each of the following Defendants, jointly and severally:
         Napoli Bern Ripka Shkolnik, LLP; Napoli Bern, LLP; Napoli, Bern & Associates, LLP;
         Napoli Bern Ripka, LLP; Napoli Bern Ripka & Associates, LLP; Napoli Bern Ripka
         Shkolnik & Associates, LLP; Law Offices of Napoli Bern, LLP; Law Offices of Napoli
         Bern Ripka & Associates LLP; Law Offices of Napoli Bern Ripka Shkolnik LLP; Law
         Offices of Napoli Bern Ripka Shkolnik & Associates LLP; Napoli, Kaiser, Bern &
         Associates, LLP; Pasternack Tilker Napoli Bern LLP; Paul J. Napoli; Napoli Shkolnik
         PLLC; Napoli Law PLLC; and Paul Napoli Law PLLC;

     (4) This Judgment shall be entered by the Clerk as a money judgment     against each Defendant
         identified in paragraph (3) above, jointly and severally;

     (5) Post-judgment    interest at 10% per annum shall accrue on this Judgment; and

    (6) The Defendants identified in paragraph (3) above shall post a cash or surety bond in the
        amount of$316,873.12.

This Judgment shall be entered nunc pro tunc to September 6, 2019.


ENTERED this:a        q'tay of September,   2019.          /Ut~.z.I6_
                                                       Richard D. Bennett
                                                       United States District Judge




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